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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

THE STATE OF GEORGIA,
CIVIL ACTION FILE

No. 1:23-CV-03621-SCJ
RK R. i
Mie MEADOWS RE: NOTICE OF REMOVAL OF
FULTON COUNTY SUPERIOR
COURT INDICTMENT NO.
23SC188947

Defendant.

ORDER
This matter appears before the Court on Defendant Mark Meadows’s
Emergency Motion for Immediate Removal or to Prohibit his Arrest.1 Doc. No.
[17]. In order for the Court to promptly address this Motion, the Court ORDERS
the Fulton County District Attorney’s Office to respond to Meadows’s Motion by

3p.m. tomorrow, Wednesday August 23, 2023. This response may not exceed

25 pages. No reply will be permitted.

1 All citations are to the electronic docket unless otherwise noted, and all page numbers
are those imprinted by the Court’s docketing software.

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IT IS SO ORDERED this _72n4_ day of August, 2023.

fL . ff

HONORABLE STEVE G. JONES
UNITED STATES DISTRICT JUDGE

